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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  DANIEL ROBERT                         *
  SSG, U.S. ARMY                        *
                                        *
  HOLLIE MULVIHILL                      *
  SSGT, USMC                            *
                                        *
         Plaintiffs,                    *
                                        *
                 v.                     *
                                        *   Civil Action No. 1:21-cv-02228-RM-STV
  LLOYD AUSTIN                          *
  Secretary of Defense,                 *
  U.S. DEPARTMENT OF DEFENSE            *
  Washington, D.C. 20301                *
                                        *
         and                            *
                                        *
  XAVIER BECERRA                        *
  Secretary of the U.S. Department of   *
  Health and Human Services             *
  U.S. DEPARTMENT OF HEALTH             *
  AND HUMAN SERVICES                    *
                                        *
         and                            *
                                        *
  JANET WOODCOCK, Acting                *
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  Commissioner of the Food & Drug               *
  Administration                                *
  U.S. FOOD AND                                 *
  DRUG ADMINISTRATION                           *
                                                *
  UNITED STATES OF AMERICA                      *
                                                *
         Defendants.                            *
  *      *       *       *      *       *       *      *        *      *      *       *       *
                                    MOTION TO WITHDRAW

         Plaintiffs legal counsel, Todd Callender and Dale Saran, Motion this Court to Withdraw
  certain pleadings identified herein from the record for reasons of administrative errors. This
  Motion is separate and distinct from a Motion for Leave to file an Amended Complaint, which
  should have preceded the filing of Plaintiff’s Amended Complaint under Fed.R.Civ.P 15 and in
  conformance with D.C.COLO.LCivR 15.1(a).

  1      The documents counsel seek to withdraw along with the reason for the request are as
  follows:

         a) ECF No. 13 – Motion for Preliminary Injunction;

                 i) Reason – it is duplicative of ECF No. 16;

         b) ECF No. 14 – Exhibits in Support of Motion for Preliminary Injunction

                 i) Reason – the exhibit includes only one page and is incomplete;

         c) ECF No. 15 – Exhibits in Support of Motion for Preliminary Injunction

                 i) Reason – these exhibits are also incomplete;

         d) ECF No. 16 – Motion for Preliminary Injunction;

                 i) Counsel recognizes that the Court’s Minute Order (ECF No. 20) instructed
  counsel to only remove one of the PI Motions, however, the problems of the incorrect exhibits
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  relate to both motions and will therefore cause both PI Motions (ECF Nos. 13 & 16) to read
  incorrectly. Therefore, counsel asks the Court for leave to withdraw ECF No. 16, as well as 13,
  in order to file a version of the PI Motion with synchronized Exhibits that will ultimately make
  the Court’s job easier and the record accurate;

         e) ECF 17 – Exhibits in Support of Preliminary Injunction Motion

                 i) For the same reasons listed in d) above, counsel respectfully requests to remove
  the exhibits in order to submit properly conforming and numbered exhibits to its Preliminary
  Injunction Motion;

         f) ECF No. 21 – Exhibits in Support of Amended Complaint (ECF No. 18)

                 i) This filing is duplicative of ECF No. 22;

         g) ECF No. 22 – Exhibits in Support of Amended Complaint (ECF No. 18)

                 i) As with the Preliminary Injunction Motion above, the Exhibits, while
  substantially correct, contain two mislabeled Exhibits and one out of order that throws off the
  numbering. Counsel requests to withdraw these in order to submit properly numbered Exhibits
  that will accompany its Amended Complaint, should the Court grant the Motion for Leave to
  Amend which will be filed today.

                                 Detriment or Prejudice to Parties

  2.     Given that none of the Defendants have answered the Complaint nor entered their
  appearance in the proceedings, none of these changes have any material effect, detriment, or
  prejudice to the Defendants. Indeed, if anything, this will aid both the Court, the Defendants, and
  the public, by having a clean record in which all of the references can be tracked and understood,
  increase judicial economy, and accurately reflect the Plaintiffs claims and supporting evidence.

  3.     WHEREFORE, Plaintiffs pray this honorable Court will grant this Motion to Withdraw
  in as expedient manner as is possible so as to limit any detriment or prejudice to the parties
  caused by these errors, which fall squarely on the shoulders of counsel.



  Dated: September 29, 2021
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  Respectfully submitted,


                              /s/ Todd S. Callender
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                            Attorney for the Plaintiffs


                              /s/ Dale Saran
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                            UNITED STATES DISTRICT COURT
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  JANET WOODCOCK, Acting                      *
  Commissioner of the Food & Drug             *
  Administration                              *
  U.S. FOOD AND                               *
  DRUG ADMINISTRATION                         *
                                              *
  UNITED STATES OF AMERICA                    *
                                              *
         Defendants.                          *
  *      *       *       *      *      *      *       *      *       *      *      *
                                              ORDER


  1.     On September 23, 2021, and September 24, 2021, Plaintiffs’ counsel attempted to file a

  Motion for a Preliminary Injunction along with accompanying exhibits in support through the

  Court’s electronic filing system.

  2.     In so filing, Plaintiffs’ counsel frankly made a mess. Two copies of the same Motion for

  Preliminary Injunction and two sets of incomplete exhibits were filed, as were a non-conforming

  Amended Complaint and duplicative exhibits in support of that.

  3.     The Court has issued Minute Orders (ECF No. 19 and 20) to instruct counsel to make the

  pleadings conform to both the rules and good practice. Counsel need to ensure this does not

  happen again and waste judicial resources on sloppy and inaccurate filings.




  ORDERED, that the clerk of the Court withdraw the following items per the Plaintiffs

  Motion to Withdraw:

         ECF Nos. 13-17, 21, and 22
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  Dated: September ____, 2021




                                         __________________________
                                         Honorable Raymond P. Moore
                                          Judge of the District Court
